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                                1   BUCHALTER
                                    A Professional Corporation
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                                6   Attorneys for Plaintiff
                                    Alterna Capital Solutions LLC, a
                                7   Florida limited liability company
                                8
                                                        UNITED STATES DISTRICT COURT
                                9
                                                      CENTRAL DISTRICT OF CALIFORNIA
                          10
                                                                WESTERN DIVISION
                          11
                             ALTERNA CAPITAL SOLUTIONS                   Case No. __________
                          12 LLC, a Florida limited liability company,
                                                                         COMPLAINT FOR BREACH OF
                          13                   Plaintiff,                GUARANTY
                          14             vs.
                          15 LOUIS ARRIOLA, an individual,
                          16                   Defendant.
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                                1                                    COMPLAINT
                                2        Plaintiff, Alterna Capital Solutions LLC, a Florida limited liability company
                                3 (“Alterna”) alleges as follows:
                                4        I.     INTRODUCTION
                                5        1.     Over the last almost two years, Alterna and LDI Networks Inc., a
                                6 Florida corporation (“LDI”) and telecommunications wholesale organization that
                                7 buys and sells Voice over Internet Protocol (“VoIP”) traffic, have maintained a
                                8 relationship wherein Alterna purchased participations in LDI’s accounts, including
                                9 LDI assigning payments on its accounts receivables to Alterna. LDI and Alterna
                          10 enjoyed a profitable business relationship until recently when LDI’s customers
                          11 began to slow down their repayment (or completely stop all payments) to Alterna.
                          12             2.     Alterna secured LDI’s obligations through various Invoice Purchase
                          13 and Security Agreements, as well as a personal guaranty from individual Defendant
                          14 Louis Arriola.
                          15             3.     In this action, Alterna seeks repayment of $6,469,958.09 in monies
                          16 loaned to LDI, plus accrued interest, which remains past due and owing.
                          17             II.    PARTIES
                          18             4.     Alterna is a limited liability company organized under the laws of the
                          19 state of Florida and registered to do business in California as a foreign entity. At all
                          20 times relevant to this action, Alterna maintained an active license as a commercial
                          21 finance lender. Alterna provides commercial financing to lenders and factors by
                          22 entering into participation agreements whereby Alterna purchases a participation
                          23 interest in certain loans or by making direct loans or cash advances to them.
                          24 Alterna’s members are four individuals, each of whom are domiciled in Florida.
                          25             5.     Louis Arriola (“Arriola”), an individual, is LDI’s Chief Operating
                          26 Officer. Arriola resides in, is a citizen of, and is domiciled in the State of California
                          27 and executed a personal guaranty, guaranteeing all of LDI’s obligations to Alterna.
                          28
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                                1        III.   JURISDICTION
                                2        A.     Subject Matter Jurisdiction
                                3        6.     This Court has subject matter jurisdiction under 28 U.S.C. §1332(a)(1)
                                4 because there is complete diversity of citizenship among the parties to this action
                                5 and the amount in controversy exceeds $75,000, exclusive of interest and costs.
                                6 Alterna is a Florida limited liability company and its four members are all
                                7 individuals domiciled in Florida. Defendant Arriola is an individual domiciled in
                                8 California.
                                9        B.     Personal Jurisdiction
                          10             7.     This Court has personal jurisdiction over Arriola because he is an
                          11 individual domiciled in California.
                          12             IV.    VENUE
                          13             8.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because
                          14 Arriola, the only Defendant, is an individual who resides in Los Angeles County,
                          15 California, which is located within this district and the Western Division.
                          16             V.     FACTUAL BACKGROUND
                          17             9.     LDI trading partners purchase the use of LDI’s network to develop
                          18 VoIP services via proprietary switches that run VoIP minutes to telecommunication
                          19 providers that have sold access to LDI. LDI and its customers use escrow banking
                          20 accounts to streamline their cash flow. LDI used the company Telefinance (Deal
                          21 Defenders LLC) (“Telefinance”) as an escrow partner when Alterna first began its
                          22 factoring relationship with LDI.
                          23             10.    All money into and out of LDI and its trading partners ran through
                          24 Telefinance to avoid delays with large wires. In 2019, LDI also utilized a company
                          25 called Telescrow, Inc.
                          26             11.    Alterna receives and sends all payments into Telefinance, and Alterna
                          27 receives payments from LDI customers from both escrow partners.
                          28
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                                1        12.    Alterna is able to measure traffic for purchased invoices through its
                                2 switch placed on the LDI network and measures the call minutes that LDI
                                3 customers run via the LDI network. Alterna also receives copies of all invoices
                                4 from LDI for minutes and rates per minute for each insured customer.
                                5        13.    The LDI customers sign “no offset” letters for Alterna confirming the
                                6 price volume for each invoice. Alterna purchases invoices and confirms use using
                                7 the Alterna switch and advances 85% of the invoice value.
                                8        14.    Each trading partner’s receivables are also insured by LDI via its
                                9 insurer. Alterna is the Loss Payee for all insurance claims granted for invoices that
                          10 Alterna has purchased.
                          11             VI.    Agreements
                          12             A.     Invoice Purchase and Security Agreement
                          13             15.    On or around January 11, 2019, Alterna and LDI entered an Invoice
                          14 Purchase and Security Agreement (“Agreement”). A true and correct copy of the
                          15 Agreement is attached and incorporated into this Complaint as Exhibit “A”
                          16 (certain commercially sensitive and personal information has been redacted from
                          17 certain Exhibits incorporated into this Complaint).
                          18             16.    Under the Agreement, including, without limitation:
                          19                    a.    Alterna will advance to LDI $7,000,000, which can be increased
                          20 to $25,000,000 upon amendment (the “Advance”), and Alterna has advanced at
                          21 least $6,469,958.09 (“Obligations”) under the Agreement.
                          22                    b.    LDI has agreed to pay to Alterna an adjustable interest rate on
                          23 the Advance (as calculated under the terms of the Agreement), and on any other
                          24 payments from Alterna to LDI pursuant to the Agreement;
                          25                    c.    LDI agreed to pay certain fees and expenses to Alterna;
                          26                    d.    LDI’s Obligations to Alterna are secured by a lien on all
                          27 “Collateral” defined as “[a]ll now owned and hereafter acquired personal property
                          28
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                                1 and fixtures, and proceeds thereof, (including proceeds of proceeds) of Seller
                                2 including without limitation: Accounts, including accounts receivables; chattel
                                3 paper; inventory; equipment; instruments, including promissory notes; investment
                                4 property; documents; deposit accounts; letter of credit rights; general intangibles
                                5 and supporting obligations” (“Collateral”) under Section 1.8;
                                6               e.     Under section 8, the Obligations are due upon Alterna’s
                                7 demand;
                                8               f.     Under section 19.2, after an Event of Default, Alterna can
                                9 immediately terminate the Agreement by written notice to LDI “at which time all
                          10 obligations shall immediately become due and payable without further notice”, and
                          11 Alterna may also exercise all of its rights and remedies, such as filing a suit to
                          12 recover the amounts against LDI;
                          13                    g.     Under section 25, LDI agreed to pay all reasonable attorneys’
                          14 fees and costs incurred by Alterna as a result of Alterna having to enforce the
                          15 Agreement and LDI’s failure to comply with the Agreement;
                          16                    h.     The following events are each defined as an “Event of Default”
                          17 under the Agreement:
                          18                    “(a) receipt of payment by Seller or a third party of a
                                                Purchased Account which is not paid to Purchaser within
                          19                    three (3) business days following the date of Seller's receipt
                                                or knowledge of receipt by such third party; (b) Seller
                          20                    defaults in the payment of any obligations to Purchaser
                                                when due hereunder that is not paid within five (5) business
                          21                    days after demand; (c) Seller fails to perform any covenant
                                                or agreement, provision or other undertaking under this
                          22                    Agreement that is not cured within five (5) business days
                                                after notice to Seller; (d) any representation or warranty of
                          23                    the Seller contained in this Agreement proves to be false in
                                                any material respect; (e) Seller or any guarantor of the
                          24                    obligations becomes subject to any debtor-relief
                                                proceedings; (f) any guarantor fails to perform or observe
                          25                    any of the guarantor's obligations to Purchaser or shall
                                                notify Purchaser of its intention to rescind, modify,
                          26                    terminate or revoke any guaranty, or any guaranty shall
                                                cease to be in full force and effect for any reason whatever;
                          27                    or (g) other than with respect to Purchaser or VOIP Capital
                                                (as permitted under the Intercreditor Agreement) any lien,
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                                1               garnishment, attachment or the like shall be issued against
                                                or shall attach to the Purchased Accounts, the Collateral or
                                2               any portion thereof and the same is not released within five
                                                (5) days; (h) Purchaser for any reason, in good faith, deems
                                3               itself insecure with respect to the prospect of repayment of
                                                performance….” (Sect. 19.)
                                4
                                5               i.    Notwithstanding whether there is an Event of Default, Alterna
                                6 can terminate the Agreement upon 30 days’ notice and can stop purchasing
                                7 accounts at any time. (Sect. 21.2.)
                                8               j.    Notwithstanding whether there is an Event of Default, Alterna
                                9 can take the actions identified in Section 11.
                          10                    k.    Alterna can pursue collection of the Collateral by making
                          11 demand or filing suit against the Account Debtors; and
                          12                    l.    Under Section 1.5, Alterna and LDI agreed that Florida law
                          13 governed the Agreement and its enforcement.
                          14             17.    The Obligations remain due and owing to Alterna.
                          15             B.     Arriola Guaranty
                          16             18.    On or about January 11, 2019, and in connection with the Agreement,
                          17 Arriola executed an Individual Guaranty for Alterna’s benefit (“Guaranty”). A true
                          18 and correct copy of the Guaranty is attached and incorporated into this Complaint
                          19 as Exhibit B.
                          20             19.    Under the Guaranty, including without limitation, Arriola:
                          21                    a.    Guaranteed all present and future obligations of LDI to Alterna,
                          22 and prompt payment and performance of LDI’s Obligations;
                          23                    b.    Waived all suretyship defenses;
                          24                    c.    Agreed that the Guaranty is a continuing guaranty;
                          25                    d.    Waived any right to revoke the Guaranty (Sect. 12);
                          26                    e.    Agreed to pay all reasonable attorneys’ fees and costs incurred
                          27 by Alterna as a result of Alterna having to enforce the Guaranty (Sect. 9);
                          28                    f.    Agreed that Florida law governed the Guaranty and its
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                                1 enforcement;
                                2               g.     There are no conditions precedent to Alterna’s ability to enforce
                                3 the Guaranty.
                                4               h.     Alterna can make demand upon Arriola for the amount owed at
                                5 any time.
                                6               i.     If Arriola does not pay or respond in a manner that is acceptable
                                7 to Alterna, Alterna can file a lawsuit to pursue collection.
                                8         C.    Discovery of Repayment Issues
                                9         20.   Alterna requires LDI customers to make certain payments for 100% of
                          10 the face value of all purchased receivables within agreed credit terms.
                          11              21.   Within the last eight months, Alterna discovered that the flow of
                          12 payments had slowed, and in some cases completely stopped, for all LDI
                          13 customers.
                          14              22.   Alterna has determined that certain Purchased Accounts are
                          15 uncollectible or are otherwise no longer an Eligible Account pursuant to section 8
                          16 of the Agreement.
                          17              23.   Alterna demanded LDI and Arriola repay the Obligations, which they
                          18 have failed to do.
                          19              24.   Within the past month, with LDI’s customers failing to make required
                          20 payments to Alterna, and LDI now refusing to repay the Obligations, there is now
                          21 over $6,469,958.09 in loaned monies due from LDI to Alterna, plus accruing
                          22 interest.
                          23              25.   LDI is currently in default under the Agreement based on its failure to
                          24 repay the past due obligations and multiple Events of Default.
                          25              26.   Arriola is also currently in default under the Agreement based on his
                          26 failure to repay the past due obligations.
                          27
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                                1                                    FIRST CLAIM
                                2                             Breach of Written Guaranty
                                3                             (Against Defendant Arriola)
                                4        27.    Alterna incorporates by reference paragraphs 1 through 26 of this
                                5 Complaint as though fully set forth in this claim.
                                6        28.    Under the Guaranty, Arriola personally guaranteed all of LDI’s present
                                7 and future Obligations to Alterna.
                                8        29.    Arriola waived any right to revoke the Guaranty and the Guaranty has
                                9 not been terminated.
                          10             30.    Arriola breached the Guaranty by failing to promptly pay LDI’s
                          11 Obligations owed to Alterna.
                          12             31.    Alterna has performed all conditions, covenants and promises required
                          13 of it under the Guaranty except those which may be excused as a matter of law.
                          14             32.    As a direct and proximate result of Arriola’s breach of the Guaranty,
                          15 Alterna has been damaged in the amount of at least $6,469,958.09 in monies, plus
                          16 past due interest payments, and default interest, to be determined according to
                          17 proof.
                          18             33.    Alterna also seeks attorney’s fees, and costs, and prejudgment
                          19 remedies, including a right to attach order and any other injunctive relief as deemed
                          20 appropriate.
                          21                        PRAYER FOR RELIEF AGAINST ARRIOLA
                          22             WHEREFORE, Alterna prays for judgment against Arriola in this action as
                          23 follows:
                          24             1.     For compensatory damages in the sum of $6,469,958.09 in monies or
                          25 an amount according to proof, together with interest thereon;
                          26             2.     For prejudgment interest which continues to accrue;
                          27             3.     For prejudgment remedies, including a right to attach order and any
                          28
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                                1 other injunctive relief as deemed appropriate;
                                2        4.      For all costs of suit incurred herein;
                                3        5.      For reasonable attorney’s fees as may be provided by law;
                                4        6.      For interest as may be provided by law; and
                                5        7.      For such other and further relief, as the Court deems to be just and
                                6 appropriate.
                                7
                                8
                                9 DATED: August 12, 2020                    BUCHALTER
                                                                            A Professional Corporation
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                          11
                                                                            By: /s/ Kevin T. Collins
                          12                                                  KEVIN T. COLLINS
                                                                              ALISSA R. PLEAU-FULLER
                          13                                                  Attorneys for Plaintiff
                                                                              Alterna Capital Solutions LLC, a Florida
                          14                                                  limited liability company
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                                Exhibit A
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                                INVOICE PURCHASE AND SECURITY AGREEMENT
                                                                                    Jan 11 2019
 THIS INVOICE PURCHASE AND SECURITY AGREEMENT (“Agreement”) is made on ____________ between
 LDI NETWORKS INC., a Florida Corporation, ("Seller") and Alterna Capital Solutions, LLC ("Purchaser").

 1.         Deﬁnitions and Index to Deﬁnitions. The following terms shall have the following
 meanings. All capitalized terms not otherwise deﬁned in this Agreement shall have the meaning
 set forth in the Uniform Commercial Code (the "UCC") as adopted in the Chosen State:



      1.1. "Advance Rate" – 85% (based on a trailing 12 month dilution, which should not exceed 5%),
      which percent may be revised at any time by Purchaser in Purchaser's sole and reasonable
      discretion.

      1.2.     Intentionally Omitted.

      1.3. "Avoidance Claim" - Any claim that a payment received by Purchaser is a preference or
      otherwise avoidable under the United States Bankruptcy Code or any other debtor-relief statute.

      1.4. "Balance Subject to Funds Usage Daily Fee or Daily Fee" - The unpaid amount due on a
      Purchased Account minus the Reserve Account.

      1.5. "Chosen State" - Florida.

      1.6. "Clearance Days" – Three (3) business day.

      1.7. "Closed Account" - An Account for which Purchaser has received full payment.

      1.8. "Collateral" - All now owned and hereafter acquired personal property and ﬁxtures, and
      proceeds thereof, (including proceeds of proceeds) of Seller including without limitation: Accounts,
      including accounts receivables; chattel paper; inventory; equipment; instruments, including
      promissory notes; investment property; documents; deposit accounts; letter of credit rights;
      general intangibles and supporting obligations.

      1.9. “Daily Fee” –the fee Seller shall pay to Purchaser, which shall be 0.05% multiplied by the
      unpaid amount of a Purchased Account, for each day that a Purchased Account has not been paid
      in full by an Account Debtor to Purchaser. The Daily Fee shall increase or decrease on the same
      date as any change in the Prime Rate, by the Prime Rate Adjustment.

      1.10 "Early Termination Fee" - See Sections 21.1. through 21.3.

      1.11. "Eligible Account" - An Account that meets the conditions under this Agreement for purchase by
      Purchaser, including Euler Insurance and signed “no-oﬀset letter”, as determined by Purchaser in its
      sole, discretion.

      1.12. “Euler Insurance” Seller will maintain a $10,000,0000 Euler Insurance policy with Purchaser
      as beneﬁciary.


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      1.13. "Events of Default" - See Section 19.

      1.14. “Facility Fee” Seller shall pay Purchaser 1.0% of the “Maximum Amount” which is fully earned
      at closing; however, the Facility Fee shall be payable over 12 equal installments with the ﬁrst
      payment due at closing date and each following payment charged at the ﬁrst of each month.

      1.15. Intentionally Omitted.

      1.16. "Ineligible Account" - An Account other than an Eligible Account as deemed by Purchaser in
      its sole discretion.

      1.17. "Invoice" - The document that evidences or is intended to evidence an Account. Where the
      context so requires, reference to an Invoice shall be deemed to refer to the Account to which it
      relates.

      1.18. "Invoice Purchase Fee" – 0% multiplied by the amount due on a Purchased Account, which
      shall be charged and paid at the time of purchase of an Account.
      1.19. “Intercreditor Agreement” – That certain Intercreditor Agreement between Purchaser and
      VOIP Capital, to be executed between such parties prior the date hereof.

      1.20. "Late Charge" – 0% per annum, which shall accrue and be payable on demand on any
      obligation not paid when due.

      1.21. "Maximum Amount" – $7,000,000. At Purchaser’s sole discretion, the Maximum Amount may be
      increased to an amount of up to $20,000,000. Any increase in the Maximum Amount above the initial
      $7,000,000 shall be subject to approval by Purchaser and subject to an additional Facility Fee.

      1.22. “Minimum Loan Fee”- If Seller does not maintain in any given month a minimum average
      loan balance $2,000,000, Purchaser will charge minimum fees based on an average loan balance of
      $2,000,000



      1.23. "Misdirected Payment Fee" – 10% of the amount of any payment on account of a
      Purchased Account which has been received by Seller or by a third party and not paid to Purchaser
      on the next Business Day following the date of receipt by Seller or the date of Seller's knowledge of
      receipt by such third party

      1.24.     "Parties" - Seller and Purchaser.

      1.25. "Payor" - An Account Debtor, other obligor, or entity obligated on an Account, making payment
      for the account of such party.

      1.26. "Prime Rate" - The prime rate published by The Wall Street Journal, from time to time as its
      prime rate.

      1.27. "Prime Rate Adjustment" – 0.0007% Daily Fee change for every 0.25% change in the Prime
      Rate compared to then-existing Prime Rate.

      1.28. "Purchase Price" - The unpaid amount due on a Purchased Account at the time of purchase
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      minus the Invoice Purchase Fee.

      1.29. "Purchased Account" - An Account purchased by Purchaser which is not a Closed Account.

      1.30. "Required Reserve Amount" – 100% of the Eligible Purchased Accounts minus the
      Advance Rate.

      1.31. "Reserve Account" - A bookkeeping account on the books of the Purchaser representing the
      portion of the Purchase Price which has not been paid by Purchaser to Seller, maintained by
      Purchaser to secure Seller's performance with the provisions hereof, and including, without
      limitation, the Required Reserve Amount.

      1.32. "Reserve Shortfall" - The amount, if any, by which the Required Reserve Amount
      exceeds the Reserve Account.

      1.33. "Term and Termination Date" - See Section 21.

 2.          Assignment and Sale. Seller hereby sells and shall continue to sell to Purchaser as absolute
 owner, and Purchaser hereby purchases and shall continue to purchase from Seller, Seller's Accounts as
 Purchaser determines in its sole, discretion. Purchaser shall pay the Purchase Price of any Purchased
 Account, less the Required Reserve Amount and any amounts due to Purchaser from Seller, within
 two (2) business days of the date of such Purchase. Seller represents that all information provided by
 Seller to Purchaser with respect to any Purchased Accounts are true and correct, the Purchased Accounts
 are collectible, and are being sold to Purchaser free and clear of any claims
 3.          Reserve Account. Purchaser may credit any portion of any Purchase Price to the Reserve
 Account up to the amount of the Reserve Shortfall. So long as there is no existing Event of Default,
 Purchaser shall pay to Seller upon Seller's request, any amount by which the Reserve Account exceeds
 the Required Reserve Amount. Purchaser may charge the Reserve Account for any amounts accrued and
 unpaid from Seller to Purchaser.


 4.         Notice of Assignment and Lock Box. Purchaser is hereby authorized to send a written
 notice in substantially the form attached as Appendix A hereto, to notify any Account Debtor
 obligated with respect to any Account that the underlying Account has been assigned to Purchaser by
 Seller and that payment thereof is to be made to the order of and directly and solely to Purchaser.
 All Invoices for Accounts sent by Seller to Account Debtors shall contain on the face of the Invoice the
 following legend: "This account is assigned and payable only to Alterna Capital Solutions, LLC (“ACS”).
 All Payments shall be sent to ACS at: P.O. Box 936601, Atlanta, GA 30354-1705."

 5.         Authorization for Purchases. Purchaser is authorized to purchase Accounts upon
 instructions received from any authorized representative designated by Seller.

 6. Fees. Seller shall pay to Purchaser throughout the Term and any Renewal Term of this Agreement
 the Invoice Purchase Fee, the Daily Fee, the Aging and Collection Fee, and the Late Charge on the
 date(s) that each Fee is due and payable as provided as set forth in Sections 1.9., 1.18., and 1.19.
 herein.

 7.         Other Charges and Expenses. Seller shall reimburse Purchaser for all of the following
 costs if the Purchaser incurs such costs in connection with this Agreement: $15.00 for wire fees, the
 actual UCC Filing fees, the Misdirected Payment Fee, and the actual, reasonable ﬁeld examination
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 fees directly incurred by Purchaser in the administration of this Agreement (collectively,
 “Reimbursable Expenses.”). Reimbursable Expenses are due at the time of payment of the applicable
 fees or expenses by Purchaser and may be charged to the Reserve Account.

 8.          Repurchase Of Accounts. Seller shall promptly and in any event within ﬁve (5)
 business days of demand by Purchaser, repurchase any Purchased Account that Purchaser determines
 at any time is uncollectible for any reason or is otherwise no longer an Eligible Account and on such
 demand shall pay to Purchaser the then unpaid amount due on the Purchased Account, together with
 any accrued but unpaid fees relating to the Purchased Account. Purchaser shall retain its security
 interest in any Purchased Account repurchased by Seller.

 9.         Security Interest. To secure payment and performance of all present and future obligations of
 Seller to Purchaser, Seller grants to Purchaser a continuing ﬁrst priority security interest in and to
 the Collateral    Seller shall execute and deliver to Purchaser such documents and instruments,
 including without limitation, UCC-1 ﬁnancing statements, as Purchaser may request from time to time in
 order to evidence and perfect its security interest in the Collateral. Seller authorizes Purchaser to ﬁle a
 UCC-1    ﬁnancing      statement,   including without limitation, original ﬁnancing statements,
 amendments and continuation statements, in all jurisdictions and oﬃces Purchaser deems appropriate
 which names Seller as the debtor and describes the Collateral. Notwithstanding the creation of this
 security interest, it is the intent of the parties that the relationship of the parties in respect to all
 Purchased Accounts shall at all times be that of purchaser and seller, and not that of lender and
 borrower; however, the grant of this security interest and actions taken with respect thereto to perfect
 such security interest are taken out of an abundance of caution in the event that the relationship is
 deemed to be that of lender and borrower.

 10.       Clearance Days. Clearance Days shall be added to the date on which Purchaser
 receives any payment before such payment is credited to reduce outstanding amounts due hereunder.

 11.         Authorization to Purchaser. Seller will attempt to work with the Purchaser to develop a
 reasonable plan to implement, at Seller's sole expense, the powers identiﬁed in this paragraph 11.
 Notwithstanding the foregoing, Purchaser shall have sole discretion to exercise at any time any of the
 following powers until all of the Seller’s obligations to Purchaser have been fully satisﬁed and
 discharged: (a) receive, take, endorse, assign, deliver, accept and deposit, in the name of Purchaser or
 Seller, proceeds of any Collateral; (b) take or bring, in the name of Purchaser or Seller, all steps,
 actions, suits or proceedings deemed by Purchaser necessary or desirable to eﬀect collection of all
 Collateral; (c) ﬁle any claim under any bond or under any trust fund; (d) pay any sums necessary
 to discharge any lien, claim, or encumbrance which is senior to Purchaser's security interest in any
 assets of Seller, which sums shall be included as obligations of Seller and which shall accrue the Late
 Charge and be immediately due and payable; (e) notify any Payor obligated with respect to any
 Account, that the underlying Account has been assigned to Purchaser by Seller and that payment
 thereof is to be made to the order and directly and solely to Purchaser; (f) communicate directly with
 Seller's Payors to verify the amount and validity of any Account created by Seller; (g) endorse and
 deposit on behalf of Seller any checks tendered by an Account Debtor "in full payment" of its obligation
 to Seller; and (h) compromise or settle any claim of Seller against any Account Debtor for less than the
 face value of such obligation of the Account Debtor.

 12.        ACH Authorization. In order to satisfy any of the Seller’s obligations to Purchaser or to
 recover any overpayment made by Purchaser to Seller, Purchaser is authorized and may process
 electronic debit or credit entries through the ACH system to any deposit account of Seller.

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 13. Agreements By Seller.

      13.1. After written notice by Purchaser to Seller, and automatically, without notice following an
      Event of Default, Seller shall not (a) grant any extension of time for payment of any of its Accounts,
      (b) compromise or settle any of its Accounts for less than the full amount, (c) release in whole or in
      part any Account Debtor, or (d) grant credits, discounts, allowances, deductions, or return
      authorizations for any Accounts.

      13.2. Seller must keep at its principal place of business for a period of ﬁve years all books of account
      and business records customary for the industry, which (subject to appropriate written conﬁdentially
      agreements between Seller and Purchaser after termination of this Agreement) books and records are
      subject to inspection by Purchaser and its agents and representatives during normal business
      hours. Purchaser or its designee shall have reasonable access, during reasonable business hours if
      prior to an Event of Default and at any time if on or after an Event of Default, to all premises where
      Collateral is located for the purposes of inspecting (and removing, if after the occurrence of an
      Event of Default) any of the Collateral, and Seller shall permit Purchaser or its designee to make
      copies of such books and records as Purchaser may request.

      13.3. Seller must give Purchaser 30 business days' prior written notice of any proposed change to
      its present name, the address of its headquarters or where its books and records are located, any
      proposed purchase of a majority interest in its equity ownership or proposed purchase of all or
      substantially all of its assets, any management, and any proposed change to its jurisdiction of
      organization or type of legal organization.

      13.4. Seller shall pay when due all of its payroll and other taxes and shall provide proof of payment
      to Purchaser.

      13.5. Other than VOIP Capital, Seller shall not create, incur, or permit the existence of any
      perfected security interest upon any Collateral without the prior consent of Purchaser.

      13.6. Seller shall provide Purchaser, within 2 business days of receipt by Seller, copies of any
      business or legal notices, summonses, complaints, or other proceedings received by Seller.

      13.7. Seller shall pay to Purchaser on the next banking day following the date of receipt by Seller
      the amount of (a) any payment on account of a Purchased Account; and (b) after the occurrence of
      an Event of Default, any payment on account of any Account.

 14.         Account Statement. Purchaser may make available to Seller a statement setting forth the
 transactions arising hereunder. Each statement shall be considered correct and binding upon Seller
 as an account statement, except to the extent that Purchaser receives, within 30 days after the
 availability of such statement, written notice from Seller of any speciﬁc exceptions by Seller to that
 statement, and then it shall be binding against Seller as to any items to which it has not objected.

 15.        Account Disputes. Seller shall notify Purchaser of all disputes concerning any Purchased
 Account, and at Purchaser's request Seller shall settle all disputes concerning any Purchased Account,
 at Seller's sole cost and expense. Seller shall not, without Purchaser's prior consent, compromise
 or adjust a Purchased Account or grant any additional discounts, allowances or credits on a
 Purchased Account Purchaser may attempt to settle, compromise, or litigate any dispute upon such

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 terms, as Purchaser deems advisable.

 16.         Representation and Warranties. Seller represents and warrants that as of the date hereof (a)
 Seller is fully authorized to enter into this Agreement; (b) this Agreement constitutes a legal and valid
 obligation that is binding upon Seller and that is enforceable against it; (c) Seller is solvent and in
 good standing in the state of its organization; (d) other than as disclosed in writing to Purchaser
 prior to the date hereof, there are no pending actions, suits, or other legal proceedings of any kind
 (whether civil or criminal) now pending (or, to its knowledge, threatened) against Seller, the adverse
 result of which would in any material respect aﬀect its property or ﬁnancial condition, or threaten its
 continued operations; (e) Seller has not conducted business under or used any other name,
 whether legal or ﬁctitious; (f) the Purchased Accounts are and will remain bona ﬁde existing
 obligations created by the sale and delivery of goods or services in the ordinary course of its
 business, and are unconditionally owed to Purchaser without defenses, disputes, oﬀsets, counterclaims,
 or rights of return or cancellation; and (g) Seller has not received notice of actual or imminent
 bankruptcy, insolvency, or material impairment of the ﬁnancial condition of any applicable Account
 Debtor regarding Purchased
 Accounts.

 17.        Indemniﬁcation. Seller agrees to indemnify Purchaser and save it harmless against any
 suits, claims, liabilities, demands and expenses, including but not limited to, any loss arising out
 of the assertion of any Avoidance Claim, and shall pay to Purchaser on demand the amount thereof
 including attorneys' fees and expenses, resulting from or arising under this Agreement. With
 respect to an Avoidance Claim, Seller shall notify Purchaser within two (2) business days of Seller's
 becoming aware of the assertion of an Avoidance Claim. This provision shall survive termination of this
 Agreement.

 18.        Disclaimer of Liability. Purchaser will not be liable to Seller for any lost proﬁts, lost
 savings or other consequential, incidental, punitive, or special damages resulting from or arising
 out of or in connection with this Agreement.

 19. Default and Events of Default. The following events will constitute an Event of Default hereunder:
 (a) receipt of payment by Seller or a third party of a Purchased Account which is not paid to Purchaser
 within three (3) business days following the date of Seller's receipt or knowledge of receipt by such third
 party; (b) Seller defaults in the payment of any obligations to Purchaser when due hereunder that is not
 paid within ﬁve (5) business days after demand; (c) Seller fails to perform any covenant or agreement,
 provision or other undertaking under this Agreement that is not cured within ﬁve (5) business days after
 notice to Seller; (d) any representation or warranty of the Seller contained in this Agreement proves to
 be false in any material respect; (e) Seller or any guarantor of the obligations becomes subject to
 any debtor-relief proceedings; (f) any guarantor fails to perform or observe any of the guarantor's
 obligations to Purchaser or shall notify Purchaser of its intention to rescind, modify, terminate or revoke
 any guaranty, or any guaranty shall cease to be in full force and eﬀect for any reason whatever; or (g)
 other than with respect to Purchaser or VOIP Capital (as permitted under the
 Intercreditor Agreement) any lien, garnishment, attachment or the like shall be issued against or
 shall attach to the Purchased Accounts, the Collateral or any portion thereof and the same is not
 released within ﬁve (5) days. ; (h) Purchaser for any reason, in good faith, deems itself insecure with
 respect to the prospect of repayment of performance of any obligations.

      19.1. SELLER WAIVES ANY REQUIREMENT THAT PURCHASER INFORM SELLER BY AFFIMATIVE ACT
      OR OTHERWISE OF ANY ACCELERATION OF SELLER’S OBLIGATIONS. PURCHASER'S FAILURE TO

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       CHARGE OR ACCRUE INTEREST OR FEES AT ANY "DEFAULT" OR "PAST DUE" RATE SHALL NOT BE
       DEEMED A WAIVER BY PURCHASER OF ITS CLAIM FOR SUCH INTEREST OR FEES.

       19.2. Upon the occurrence of any Event of Default, in addition to any rights Purchaser has under
       this Agreement or applicable law, Purchaser may immediately terminate this Agreement by written
       notice to Seller, at which time all obligations shall immediately become due and payable without
       further notice.

 20.       Amendment and Waiver. Only a writing signed by all parties may amend this
 Agreement. No failure or delay in exercising any right shall impair any right that Purchaser has, nor shall
 any waiver by Purchaser be deemed a waiver of any default or breach occurring subsequently.
 Purchaser's rights and remedies are cumulative and not exclusive of each other or of any rights or
 remedies that Purchaser would otherwise have.

 21.        Term and Termination Date. This Agreement shall be eﬀective when executed by all of the
 Parties, shall continue in full force and eﬀect for 36 months thereafter (the "Term"), and shall be
 further extended automatically annually (the "Renewal Term"), unless Seller provides written notice
 of its intention to terminate at least 60 days prior the end of the respective Term or Renewal
 Term. Notwithstanding the preceding sentence, such termination shall not occur and the Agreement
 shall continue as if no notice was given unless, prior to or on the termination date, Seller has fully
 repaid Purchaser all monies due, and delivered to Purchaser the release as required by Section 22.
 below.

       21.1. If Seller provides notice of its intent to terminate under Section 21. above, then in addition to
       any other fees or amounts due under this Agreement, Seller agrees that it will pay Purchaser
       an early termination fee equal to 3% of the Maximum Amount if this Agreement is terminated during the
       ﬁrst 12 months of this Agreement, 2% of the Maximum Amount if this Agreement is terminated during
       months 12 through month 24, and 1% of the Maximum Amount if this Agreement is terminated thereafter,
       in each case multiplied by the number of months remaining in the Term or any Renewal Term (the
       "Early Termination Fee"). If Purchaser does not provide Seller with increase to Maximum Amount of
       $7,000,000 within 30 days of closing, this Early Termination Fee will be waived for a subsequent 90
       days, which would end on 120th day of the post-closing day.

       21.2. Purchaser may terminate this Agreement at any time by giving Seller 30 days' prior written
       notice of termination, whereupon this Agreement shall terminate on the earlier date of 30 days
       thereafter or the end of the then current Term or Renewal Term, upon which termination date Seller
       shall fully repay to Purchaser all monies due and deliver to Purchaser the release as required under
       Section 22 below.

 22.        No Lien Termination without Release. Notwithstanding payment in full of all obligations
 by Seller, Purchaser shall not be required to record any termination or satisfaction of its liens on the
 Collateral unless and until Seller and any guarantors deliver to Purchase a general release. Seller
 understands that this provision constitutes a waiver of its rights under §9-513 of the UCC.

 23.         Conﬂict. Unless otherwise expressly stated in any other agreement between Purchaser and
 Seller, if a conﬂict exists between the provisions of this Agreement and the provisions of such other
 agreement, the provisions of this Agreement shall control.

 24.           Severability. In the event any one or more of the provisions contained in this Agreement is

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 held to be invalid, illegal or unenforceable in any respect, then such provision shall be ineﬀective only to
 the extent of such prohibition or invalidity, and the validity, legality, and enforceability of the
 remaining provisions contained herein shall not in any way be aﬀected or impaired thereby.

 25.        Expenses. In addition to those Expenses set forth in Section 7 herein, Seller agrees to
 reimburse Purchaser the actual amount of all costs and expenses, including reasonable attorneys'
 fees and expenses, which Purchaser may incur (a) protecting, preserving or enforcing any lien, security
 or other right granted by Seller to Purchaser or arising under applicable law, whether or not suit is
 brought, including but not limited to the defense of any Avoidance Claims or the defense of
 Purchaser's lien priority; (b) for travel and attorneys' fees and expenses incurred in complying with
 any subpoena or other legal process in any way relating to Seller; and (c) for the actual amount of all
 costs and expenses, including reasonable attorneys' fees, which Purchaser may incur in enforcing
 this Agreement, or in connection with any federal or state insolvency proceeding commenced by or
 against Seller or any Account Debtor, including those (i) arising out of an automatic stay, (ii) seeking
 dismissal or conversion of a bankruptcy proceeding or (iii) opposing conﬁrmation of Seller's plan
 thereunder. All Expenses will be subtracted from the Reserve Account and are payable by Seller
 upon demand by Purchaser. This provision shall survive termination of this Agreement.

 26.       Entire Agreement. This Agreement supersedes all prior or contemporaneous
 agreements and understandings between the parties, verbal or written, express or implied, relating to
 the subject matter hereof. No promises of any kind have been made by Purchaser or any third party
 to induce Seller to execute this Agreement. No course of dealing, course of performance, or trade
 usage, and no parol evidence of any nature, shall be used to supplement or modify any terms of this
 Agreement.

 27.      Choice of Law. This Agreement shall be governed by, construed under, and enforced in
 accordance with the internal laws of the Chosen State.

 28.      Jury Trial Waiver. IN RECOGNITION OF THE HIGHER COSTS AND DELAY WHICH MAY
 RESULT FROM A JURY TRIAL, THE PARTIES HERETO WAIVE ANY RIGHT TO TRIAL BY JURY OF ANY
 CLAIM, DEMAND, ACTION, OR CAUSE OF ACTION (a) ARISING HEREUNDER, OR (b) IN ANY WAY
 CONNECTED
 WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO OR ANY OF THEM
 WITH RESPECT HERETO, IN EACH CASE WHETHER NOW EXISTING OR HEREAFTER ARISING, AND
 WHETHER SOUNDING IN CONTRACT OR TORT OR OTHERWISE; AND EACH PARTY FURTHER WAIVES
 ANY RIGHT TO CONSOLIDATE ANY SUCH ACTION IN WHICH A JURY TRIAL HAS BEEN WAIVED WITH
 ANY OTHER ACTION IN WHICH A JURY TRIAL CANNOT BE OR HAS NOT BEEN WAIVED; AND EACH
 PARTY HEREBY AGREES AND CONSENTS THAT ANY SUCH CLAIM, DEMAND, ACTION OR CAUSE OF
 ACTION SHALL BE DECIDED BY COURT TRIAL WITHOUT A JURY, AND THAT ANY PARTY HERETO MAY
 FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT AS WRITTEN
 EVIDENCE OF THE CONSENT OF THE PARTIES HERETO TO THE WAIVER OF THEIR RIGHT TO TRIAL BY
 JURY.

 29.         Venue; Jurisdiction. The parties agree that any suit, action, or proceeding arising out of the
 subject matter or the interpretation, performance, or breach of this Agreement, shall, if Purchaser so
 elects, be instituted in the Courts of Orange County, Florida (each an "Acceptable Forum"). Each Party
 agrees that the Acceptable Forums are convenient to it, and each Party irrevocably submits to the
 jurisdiction of the Acceptable Forums, irrevocably agrees to be bound by any judgment rendered in
 connection with this Agreement, and waives any and all objections to jurisdiction or venue that it may

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 have under the laws of the Acceptable Forums or otherwise in those courts in any such suit, action, or
 proceeding. Should such proceeding be initiated in any other forum, Seller waives any right to
 oppose any motion or application made by Purchaser as a consequence of such proceeding having been
 commenced in a forum other than an Acceptable Forum.

 30.        Counterparts. This Agreement may be signed in any number of counterparts, each of
 which shall be an original, with the same eﬀect as if all signatures were upon the same instrument.
 Delivery of an executed counterpart of the signature page to this Agreement by facsimile or other
 electronic means shall be eﬀective as delivery of a manually executed counterpart of this
 Agreement, and any Party delivering such an executed counterpart of the signature page to this
 Agreement by such means to any other Party shall thereafter also promptly deliver a manually executed
 counterpart of this Agreement to such other Party, provided that the failure to deliver such manually
 executed counterpart shall not aﬀect the validity, enforceability, or binding eﬀect of this Agreement.

 31.        Notice. All notices required to be given to any Party shall be deemed given upon the ﬁrst to
 occur of (i) transmittal sent by commercial overnight carrier, (ii) transmittal by electronic means to a
 receiver under the control of such Party; or (iii) actual receipt by such Party or an employee or agent
 of such Party. Notices shall be sent to the following addresses, or to such other addresses as each
 such Party may in writing hereafter indicate:

          PURCHASER:   Alterna Capital Solutions, LLC
                       222 W Comstock Avenue
                       Winter Park, FL 32789
                       President: Eugene Stanley Carpenter
                       scarpenter@alternacs.com


          SELLER:      LDI NETWORK INC.
                       777 Arthur Godfrey Road. #300
                       Miami Beach, FL 33140
                       Attn: Louis Arriola la@ldinetworks.com

 32.       Successors and Assigns. This Agreement shall be binding upon and inure to the beneﬁt
 of the parties hereto and their respective successors and assigns.

 33.        Conﬁdentiality and Nondisclosure. The Parties agree that the terms of this
 Agreement, all business methods and trade secrets, and any and all other records and
 information clearly and speciﬁcally identiﬁed by the applicable Party as conﬁdential will be held in
 strict conﬁdence and treated as the conﬁdential property of the other Party. A Party will not, except in
 the due performance of its duties or the enforcement of its rights under this Agreement, disclose any of
 the foregoing to any person, unless speciﬁcally authorized to do so in writing by the other Party or
 unless required by law. The provisions of this Section shall survive the termination of this Agreement.

 34.        Headings. The title of this Agreement and the subject headings of the sections and
 subsections of this Agreement are included for the purposes of convenience and shall not aﬀect the
 construction of interpretation of any of its provisions.

 35.        Construction. This Agreement and all agreements relating to the subject matter hereof are
 the product of negotiation and preparation by and among each party and its respective attorneys, and
 shall be construed accordingly.
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      IN WITNESS WHEREOF the parties hereto have aﬃxed their hands and seals on the day and year ﬁrst
      above written.



      SELLER: LDI NETWORKS INC.

      By: ______________________
      Name: Louis Arriola__________
      Title: Chief Operating Oﬃcer ____



      PURCHASER: Alterna Capital Solutions, LLC

      By: __________________________
      Name: Eugene Stanley Carpenter__
      Title: President________________

                                                        APPENDIX A


                                             [TO BE PLACED ON COMPANY LETTERHEAD]

     [CLIENT NAME
     CLIENT ADDRESS]

                                                                                                            [Date] 2019

     Dear {CLIENT Name}

     Carrier Services Agreement dated on or about [      ] for the sale and purchase of wholesale telecommunication
     services ("Traffic") on each other’s telecommunications systems ("Sales Contract")

     NOTICE OF ASSIGNMENT

     LDI Network Inc.(“LDI”) has recently experienced growth in its business and due to this growth, we hereby give you
     notice that we have entered into an Invoice Purchase and Security Agreement, dated [______] (the “Account
     Purchase Agreement”) with Alterna Capital Solutions, LLC (“ACS”) pursuant to which ACS may purchase LDI’s
     accounts in accordance with the terms of such agreement and the other agreements, documents and instruments
     referred to therein or at any time executed and/or delivered in connection therewith. Pursuant to the terms of the
     Account Purchase Agreement, LDI has assigned and will continue to assign, their present and future accounts to ACS,
     including accounts owing by {CLIENT NAME} and further, pursuant to 9-406 of Revised Article 9 of the Uniform
     Commercial Code, ACS has filed a Financing Statement covering [CLIENT NAME] accounts (“Assigned
     Receivables”), under the Sales Contract and all rights, remedies and monies payable in respect to the Assigned
     Receivables.

        In connection with such assignment, ACS requires {CLIENT NAME} to agree the following:

1.        PAYMENT OF INVOICES

               {CLIENT NAME} shall remit all amounts invoiced under the Sales Contract without set-off, deduction or
               counterclaim to the following bank account:

                     For check payments and related remittance advices, make checks payable and mail to:
                     {CLIENT NAME} – c/o ACS

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                       P.O. Box 936601
                       Atlanta, GA 31193-6601

                       For ACH or wire payments, please send to:
                       ACH / Wiring Instructions
                       Bank Name:
                       Routing Number:
                       Bank Account Number:
                       SWIFT Code:

               This letter may only be revoked in writing by {LDI Network Inc} and ACS. Payment(s) other than to the bank
               account specified above or (as the case may be) in accordance with a notification as aforesaid shall not
               discharge your obligation to pay such invoiced amounts. Each approved invoice will indicate assignment and
               is an agreement to the terms in this letter.

               Notwithstanding anything to the contrary in the Sales Contract, the Assigned Receivables are due and payable
               to the ACS irrespective of whether your customers have paid {CLIENT NAME}.

               This notice and the Acknowledgement of Notice of Assignment executed by {CLIENT NAME}, (together, the
               “No-Offset Agreement”) expresses the entire understanding of the parties with respect to the subject matter
               hereof and supersedes all prior inconsistent agreements and understandings.
                                                                                        ________         ________
                                                                                            Initial        Initial


2.         IP ADDRESS

     2.1       Set out hereunder are the prefix range of IP sources from which the Traffic shall originate from and/or be
               delivered to (the "Specified Address" or “Specified Addresses”):

               2.1.1      LDI:     _______________________________________

               2.1.2              {CLIENT NAME}: _______________________________________


     2.2       Unless otherwise agreed to by the ACS, no party shall be entitled to invoice for Traffic, unless it originates
               from, and is delivered to a Specified Address or Specified Addresses.

3.         DELIVERY

     No invoice or credit note shall be valid unless received from or delivered to ACS via ACS’ online portal at
     www.alternacs.com, via client login under LDI’s account.

     No rate amendment from LDI shall be valid unless a notification has been sent to r.labelle@alternacs.com.

     Please kindly acknowledge receipt of this notice and confirm your agreement to its terms by initialing each page, signing
     the attached acknowledgement of assignment and returning it to us.

     This notice shall be governed and construed in accordance with the laws of Florida (without giving effect to principles of
     conflicts of law or choice of law).

     Best Regards,


     ________________________________________


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Louis Arriola
LDI Networks Inc.




                                                                                      ________     ________
                                                                                         Initial       Initial


                                            ACKNOWLEDGEMENT OF NOTICE OF ASSIGNMENT

To:        Alterna Capital Solutions, LLC
           222 West Comstock, Ste 112
           Winter Park, FL 32789
           Attn: Raymond LaBelle

We hereby acknowledge receipt of a notice (the “Notice of Assignment”) of which the above is a duplicate and confirm
our agreement to all of the terms thereof and, without prejudice to the generality of the foregoing, confirm and agree
that:-

      1.   {CLIENT NAME} agrees, represents and warrants to ACS (as defined in the Notice of Assignment) that in no
           event shall {CLIENT NAME}, or any person or entity claiming by, through or under it, offset or withhold payment
           in respect of any Assigned Receivables (as defined in the Notice for Assignment) for any offset, claim, defense,
           counterclaim, abatement, suspension, recoupment or deduction which {CLIENT NAME} may have against LDI
           Networks Inc. (“Assignor”) for any amounts which may now or hereafter be due to {CLIENT NAME} from the
           Assignor for any reason. {CLIENT NAME} waives any right that it may have under any Federal, State or other
           law, including, without limitation, all rights under Section 553 of the U.S. Bankruptcy Code, to assert any such
           rights;

      2.   {CLIENT NAME} will pay all amounts invoiced under the Sales Contract owing to Assignor without set-off,
           deduction or counterclaim in accordance with paragraph 1 (Payment of Invoices) of the notice and we will
           comply with any instructions in relation to the Assigned Receivable as directed by you and will accept invoices
           properly rendered under the Sales Contract by ACS. We acknowledge that ACS will purchase Assigned
           Receivables from the Assignor in reliance on {CLIENT NAME’s} to pay all amounts invoiced in accordance with
           paragraph 1 (Payment of Invoices) of the notice and we accept that this provision is reasonable having regard
           to all the circumstances and that, if we have a counterclaim against the Assignor it is reasonable that our
           recourse should be against the Assignor and not against ACS;

      3.   In the event any offset, claim, counterclaim or deduction against any Assigned Receivables should arise in the
           future in favor of {CLIENT NAME} against Assignor, {CLIENT NAME} will assert the same, and pursue such
           rights and remedies as it may have, only against Assignor and not against ACS and whether or not {CLIENT
           NAME} shall ultimately prevail in respect of any such offset, claim, counterclaim or deduction asserted against
           the Assignor, {CLIENT NAME} shall pay, promptly when due, in accordance with their terms, any and all

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          Assigned Receivables of {CLIENT NAME} payable to the Assignor which may now exist or hereafter arise from
          time to time. It is expressly understood and agreed that the provisions hereof shall apply and be effective as to
          Assignor as a debtor-in-possession in any proceeding under the U.S. Bankruptcy Code filed by or against it or
          any trustee in bankruptcy of Assignor.

     4.   {CLIENT NAME} agrees that it will not sell, assign, grant a security interest in or otherwise transfer any interest
          in any amounts due from Assignor to {CLIENT NAME} or other right of {CLIENT NAME} to payments from
          Assignor, unless the assignee or transferee thereof first agrees in writing with ACS to be bound by the terms of
          the No-Offset Agreement (as defined in the Notice of Assignment) as if such assignee or transferee were an
          original signatory hereto.

     5.   Unless otherwise agreed to by the ACS, no party shall be entitled to invoice for Traffic, unless it originates from
          and is delivered to the Specified Address or Specified Addresses as set out in the notice;

     6.   {CLIENT NAME} will not do anything which in any way prejudices your rights, titles, benefits and interests
          thereunder under the Assigned Receivable;

     7.   {CLIENT NAME} acknowledges that you shall be entitled to assign your rights under this acknowledgement;

     8.   {CLIENT NAME} confirms that there are no amounts owing by LDI Networks Inc. to us which will be set off
          against amounts to be paid by us under the Sales Contract; and

     9.   Notwithstanding anything to the contrary in the Sales Contract, the Assigned Receivables are due and payable
          to the ACS irrespective of whether our customers have paid {CLIENT NAME}.

                                                                                     ________        ________
                                                                                         Initial         Initial
This acknowledgement shall be governed and construed in accordance with the laws of Florida (without giving effect to
principles of conflicts of law or choice of law).

[CLIENT NAME]


_____________________________________                                      ___________________
                                                                           Date

Name:
Title:
[affix company seal]


In the presence of:


Witness Signature: ___________________________________________

Name: ______________________________________________________

Address: ____________________________________________________

Occupation: __________________________________________________




                                                              13
LDI Networks IPSA
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                                                    ________     ________
                                                       Initial     Initial




                                      14
LDI Networks IPSA
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                               EXHIBIT B
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 bbbbbbbbbbbbbbbbbbbbbbbbbb
 IndividualbGuaranty
 T HISbDOCUMENT bCONTAINSbAbWAIVERbOFbT RIALbBYbJURY
                                   Jan 11 2019
 T his GUARANT Y dated as of _________________ is made by the individual(s) which have signed
 below (individually or collectively, "Guarantor"), in favor of Alterna Capital Solutions, LLC ("Creditor").
 FOR GOOD AND VALUABLE CONSIDERAT ION, and to induce Creditor to extend financial
 accommodations to Client (as defined below), Guarantor agrees as follows:
 1.bDefinit ionsbandbConst ruct ion.bAsbusedbherein:
 1.1. "Acceptable Forums" - See Section 15. hereof.
 1.2. "Agreement" - T his Guaranty, as amended.
 1.3. "Bankruptcy Code" - T itle 11 of the United States Code.
 1.4. "Chosen State" - Florida
 1.5. "Credit Documents" - T he Invoice Purchase Agreement dated of essentially even date herewith
 between, Client and Creditor, all documents executed in connection therewith, and all amendments or
 renewals to or of any of the foregoing, or any other document evidencing a Guaranteed Obligation.
 1.6. "Creditor" - See Preamble.
 1.7. "Client" – LDI NET WORK INC., and all its successors-in-interest by operation of law or otherwise.
 1.8. "Guaranteed Obligations" - All present and future obligations of Client to Creditor, including but not
 limited to obligations arising out of the Credit Documents, including interest, fees, expenses and other
 amounts, but for the filing of a petition under the Bankruptcy Code with respect to Client, would have
 accrued on any such obligations, whether all or any such amounts are allowed or allowable in any such
 case, and attorneys' fees and expenses.
 1.9. "Guarantor" - See Preamble.
 1.10. "Party" - Creditor and/or Guarantor.
 2.bGuarant y.
 2.1. Promise to Pay and Perform. Guarantor unconditionally and irrevocably guarantees to Creditor the
 prompt payment and performance of the Guaranteed Obligations, and agrees to pay same on demand,
 whether or not the Guaranteed Obligations are found to be invalid, illegal or unenforceable, this being a
 guaranty of payment and not a guaranty of collection. Guarantor is obligated to make payment to
 Creditor, and Creditor may enforce its rights, under the Agreement without first seeking to obtain
 payment from Client, any other guarantor, any collateral, or pursuant to the exercise of any other right or
 remedy. Upon default under the arrangements with Client, or certain actions by or against the Guarantor,
 all Guaranteed Obligations are immediately due and payable and Creditor is entitled to enforce the
 obligations of Guarantor. T his Guaranty is continuing, unlimited, absolute and unconditional.




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 2.2. Cumulative Obligations. T he obligations hereunder are in addition to any other obligations of
 Guarantor under any other guaranties of the indebtedness or other obligations of Client or any other
 person at any time given to Creditor. T his Agreement shall not aﬀect or invalidate any such other
 guaranties.
 2.3. Continuing Obligation. - T his Agreement shall remain in full force and eﬀect notwithstanding the fact
 that, at any particular time, no Guaranteed Obligations may be outstanding.
 2.4. Joint and Several Obligation; Independent Obligation. - Guarantor is directly, jointly, and severally
 with all other guarantors of the Guaranteed Obligations liable to Creditor. T he obligations of Guarantor
 hereunder are direct and primary and are independent of the obligations of Client or any other such
 guarantor, and a separate action may be brought against Guarantor irrespective of whether an action is
 brought against Client or any other guarantor or whether Client or any such other guarantor is joined in
 such action. Guarantor's liability hereunder shall not be contingent upon the exercise or enforcement by
 Creditor of any remedies it may have against Client or any other guarantor or the enforcement of any
 lien or realization upon any security Creditor may at any time possess. Any release that may be given
 by Creditor to Client or any other guarantor shall not release Guarantor, who expressly consents hereto
 to such a release.
 3.bCovenant s.
 3.1. Guarantor has adequate means to obtain all relevant information, on a continuing basis, concerning
 Client's financial condition as well as all other circumstances that bear upon the risk of nonpayment of
 the Guaranteed Obligations. Guarantor bears the sole responsibility for being and keeping informed
 thereof, and relieves Creditor of any duty to disclose any present or future information relating thereto.
 3.2. Guarantor shall, from time to time, at the expense of Guarantor, promptly execute and deliver all
 further documents and take all further action that may be necessary, or that Creditor may reasonably
 request, to enable Creditor to exercise and enforce its rights and remedies hereunder.
 3.3. Guarantor shall not create, incur, assume or permit to exist, any non-purchase-money lien upon or
 with respect to any of its assets. Guarantor authorizes Creditor to record a record in any public records
 filing oﬀice advising third parties that the taking of any such lien by them may constitute the tortious
 interference with Creditor's rights hereunder.
 4 .bPayment s.
 4.1. Nature and Application of Payments. Creditor may apply any payment with respect to the
 Guaranteed Obligations or any other amounts due hereunder in such order, as Creditor shall in its sole
 and absolute discretion determine, irrespective of any contrary instructions received from any other
 person.
 4.2. Indefeasible Payment; Revival. If any portion of any payment to Creditor hereunder is set aside and
 repaid by Creditor for any reason after being made by Guarantor, the amount so set aside shall be
 revived as a Guaranteed Obligation and Guarantor shall be liable for the full amount Creditor is required
 to repay plus all costs and expenses (including attorneys' fees, costs, and expenses) incurred by
 Creditor in connection therewith. T his Section 4.2. shall survive termination of the Agreement.
 5. Representations and Warranties. Guarantor represents and warrants as follows (which
 representations and warranties shall be true, correct, and complete at all times):
 5.1. T his Agreement is not made by Guarantor in reliance on any representation or warranty, express or
 implied, by Creditor concerning the financial condition of Client, the nature, value, or extent of any

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 security for the Guaranteed Obligations, or any other matter, and no promises have been made to
 Guarantor by any person to induce Guarantor to enter into this Agreement, except as set forth in this
 Agreement. Guarantor is presently informed of the financial condition of Client and of all other
 circumstances that a diligent inquiry would reveal and which bear upon the risk of nonpayment of the
 Guaranteed Obligations.
 5.2. T he consideration received by Guarantor in connection with this Agreement is adequate and
 satisfactory in all respects, and represents reasonably equivalent value, to support this Agreement and
 Guarantor's obligations hereunder.
 6. Waivers. Guarantor waives:
 6.1. ANY AND ALL SURET YSHIP DEFENSES, WHET HER ARISING IN EQUIT Y, BY CONT RACT,
 STAT UT E OR BY OPERAT ION OF LAW.
 6.2. Notice of (a) any adverse change in the financial condition of any Client, (b) any default in the
 performance of the Guaranteed Obligations; and (c) any other notice to which Guarantor might be
 entitled.
 6.3. Any defense or claim arising out of (a) the release of any collateral securing the Guaranteed
 Obligations or (b) any fact that may increase Guarantors risk hereunder.
 6.4. Any claim of usury.
 6.5. Any other defense arising by reason of any disability or other defense (other than the defense that
 the Guaranteed Obligations have been fully paid) of Client including any defense arising from any
 statute of limitations.
 6.6. Any defense based on the invalidity, irregularity, or unenforceability of all or any part of the
 Guaranteed Obligations or any other circumstance which might constitute a defense of a guarantor.
 6.7. Any claim or defense based on (a) the validity, legality or enforceability in whole or in part of the
 Guaranteed Obligations, (b) any assignment, amendment, transfer, modification, renewal, waiver,
 compromise, addition or supplement relating to Guaranteed Obligations, (c) any setoﬀ, counterclaim or
 any circumstances which might constitute a defense or discharge of Guarantor.
 6.8. Any lack of power or authority of Client.
 6.9. Any defense to payment hereunder resulting from Creditor's releasing the Client or any other obligor
 owing the Guaranteed Obligations from their obligation to pay the Guaranteed Obligations, as well as
 Creditor's failure to give Guarantor notice thereof.
 6.10. All Guarantor's rights of reimbursement, indemnification, subrogation, and contribution and any
 other rights and defenses that are or may become available to Guarantor.
 6.11. All rights and defenses arising out of an election of remedies, such as a nonjudicial foreclosure
 with respect to security for a guaranteed obligation.
 7 .bAcknowledgement sbandbAgreement s.
 7.1. Modifications to Credit Documents and Guaranteed Obligations. Without notice to Guarantor and
 without aﬀecting or impairing the obligations of Guarantor hereunder, Guarantor consents to the
 following: Creditor may, compromise or settle, extend the period of duration or the time for the payment,
 or discharge the performance of, or may refuse to, or otherwise not enforce, or may, release any
 obligor of the Guaranteed Obligations or may grant other indulgences to Client in respect thereof, or
 may amend the Credit Documents, or may enforce, exchange, release, or waive any security for the
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 Guaranteed Obligations or any guaranty of the Guaranteed Obligations.




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 7.2. Subordination. All present and future indebtedness of Client to Guarantor is subordinated to the
 payment of the Guaranteed Obligations. In this regard, no payment of any kind whatsoever shall be
 made with respect to such indebtedness until the Guaranteed Obligations have been indefeasibly paid
 in full. Guarantor shall have no right to take any action with respect to its indebtedness of Client, whether
 by judicial or non-judicial foreclosure, recordation or enforcement of mechanics liens, notification to the
 Client's account debtors, the seeking of the appointment of a receiver for any portion of the Client's
 assets, setoﬀ, or otherwise, unless and until all Guaranteed Obligations have been fully and
 indefeasibly paid. Any payment received by Guarantor in respect of such indebtedness shall be held by
 Guarantor as trustee for Creditor, and promptly paid over to Creditor on account of the Guaranteed
 Obligations but without reducing or aﬀecting in any manner the liability of Guarantor under the other
 provisions of this Agreement. Upon request by Creditor, any notes or other instruments now or hereafter
 evidencing such indebtedness of Client to Guarantor, shall be marked with a legend that the same are
 subject to this Agreement or shall be delivered to Creditor for safekeeping. Guarantor hereby grants
 Creditor the right to file claims, receive distributions, vote any claim of Guarantor and otherwise act on
 behalf of Guarantor in any bankruptcy case of the Client.
 7.3. All notices shall be eﬀective upon: (a) the sending of an email to one of the email addresses below
 or (b) delivery to a recognized overnight delivery service of a properly addressed notice, delivery
 prepaid, with instructions to make delivery on the next business day. For purposes hereof, the
 addresses of the parties are as set forth below or as may otherwise be specified from time to time in a
 writing sent by one party to the other in accordance with the provisions hereof:
 GUARANTOR: Louis Arriola
 Home Address:
 Email: la@ldinetworks.com
 CREDITOR: Alterna Capital Solutions, LLC
 222 West Comstock Avenue, Suite 112, Winter Park, FL 32789
 Oﬀicer: Stan Carpenter Email: scarpenter@alternacs.com
 8. Amendment and Waiver. Only a writing signed by all parties hereto may amend this Agreement. No
 failure or delay in exercising any right hereunder shall impair any such right that Creditor may have, nor
 shall any waiver by Creditor hereunder be deemed a waiver of any default or breach subsequently
 occurring. Creditor's rights and remedies herein are cumulative and not exclusive of each other or of
 any rights or remedies that Creditor would otherwise have.
 9.bAt t orney'sbFees.
 9.1. In the event that either Party finds it necessary to retain counsel in connection with any contract
 claim regarding the interpretation, defense, or enforcement of this Agreement, the prevailing party shall
 recover its reasonable attorney's fees and expenses from the unsuccessful Party.
 9.2. It shall be presumed (subject to rebuttal only by the introduction of competent evidence to the
 contrary) that the amount recoverable is the amount billed to the prevailing party by its counsel and that
 such amount will be reasonable if based on the billing rates charged to the prevailing party by its
 counsel in similar matters.
 10.bSuccessorsbandbAssigns.
 10.1. T his Agreement shall be binding upon and inure to the benefit of the parties hereto and their

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 respective heirs, executors, personal representatives, and successors and assigns.




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 10.2. Creditor may assign its rights and delegate its duties hereunder in connection with an assignment
 of the Guaranteed Obligations. Upon such assignment, Guarantor shall be deemed to have attorned to
 such assignee and shall owe the same obligations to such assignee and shall accept performance
 hereunder by such assignee as if such assignee were Creditor.
 11. Entire Agreement. T his Agreement shall be binding upon and inure to the benefit of the parties hereto
 and their respective heirs, executors, personal representatives, and successors and assigns.
 12. Revocation. Guarantor waives any right to revoke this agreement.
 13. Choice of Law. T his Agreement and all transactions contemplated hereunder and/or evidenced
 hereby shall be governed by, construed under, and enforced in accordance with the internal laws of the
 Chosen State.
 14. Waiver of Trial by Jury. IN RECOGNIT ION OF T HE HIGHER COST S AND DELAY WHICH MAY
 RESULT FROM A JURY T RIAL, T HE PART IES HERETO WAIVE ANY RIGHT TO T RIAL BY JURY OF
 ANY CLAIM, DEMAND, ACT ION OR CAUSE OF ACT ION (A) ARISING HEREUNDER, OR (B) IN ANY
 WAY CONNECT ED WIT H OR RELAT ED OR INCIDENTAL TO T HE DEALINGS OF T HE PART IES
 HERETO OR ANY OF T HEM WIT H RESPECT HERETO, IN EACH CASE WHET HER NOW EXIST ING
 OR HEREAFT ER ARISING, AND WHET HER SOUNDING IN CONT RACT OR TORT OR OT HERWISE;
 AND EACH PART Y FURT HER WAIVES ANY RIGHT TO CONSOLIDAT E ANY SUCH ACT ION IN
 WHICH A JURY T RIAL HAS BEEN WAIVED WIT H ANY OT HER ACT ION IN WHICH A JURY T RIAL
 CANNOT BE OR HAS NOT BEEN WAIVED; AND EACH PART Y HEREBY AGREES AND CONSENT S
 T HAT ANY SUCH CLAIM, DEMAND, ACT ION OR CAUSE OF ACT ION SHALL BE DECIDED BY
 COURT T RIAL WIT HOUT A JURY, AND T HAT ANY PART Y HERETO MAY FILE AN ORIGINAL
 COUNT ERPART OR A COPY OF T HIS SECT ION WIT H ANY COURT AS WRIT T EN EVIDENCE OF
 T HE CONSENT OF T HE PART IES HERETO TO T HE WAIVER OF T HEIR RIGHT TO T RIAL BY JURY.
 15. Venue; Jurisdiction. Any suit, action or proceeding arising hereunder commenced by for the
 interpretation, performance or breach hereof, shall be instituted in the federal or state court sitting in or
 nearest to Wilmington, DE or Orange County, FL (the "Acceptable Forum"). Guarantor agrees that the
 Acceptable Forum is convenient to it, and submits to the jurisdiction of the Acceptable Forum and
 waives any and all objections to jurisdiction or venue. Should such proceeding be initiated in any other
 forum, Guarantor waives any right to oppose any motion or application made by Creditor to transfer
 such proceeding to an Acceptable Forum.
 IN WIT NESS WHEREOF, Guarantor has executed this Agreement as of the date first written above.

                                                                       Jan 11 2019
 By: ______________________________________________ Date: _________________________

               Louis R. Arriola
 Print Name: ______________________________________________________________________




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